Case 2:15-cv-01045-RFB-BNW Document 743-9 Filed 09/12/19 Page 1 of 21




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Case 2:15-cv-01045-RFB-BNW Document 743-9 Filed 09/12/19 Page 2 of 21




            Journal   of   Economic         Perspectives? Volume                14 Number 3? Summer 2000? Pages 75? 94




        The Sports Business as a Labor Market
        Laboratory




        Lawrence                     M Kahn



        P
                      rofessional sports                  offers       a unique opportunity           for    labor      market research

                      There           no research                                     than sports where we know                          name



        individual
                                is                              setting other                                                     the

                      face and            life     history        of   every    production         worker and supervisor in the

        industry Total          compensation packages and performance                                     statistics    for each

               are widely available                       and we have           a    complete      data     set   of    worker employer

        matches over the career of each production                                     worker and supervisor             in the industry




        professional
        These      statistics        are     much more                  detailed       and     accurate     than       typical    microdata

        samples       such    as     the     Census or the Current Population Survey Moreover

                  sports leagues                 have experienced major changes                       in labor         market rules and

        structure? like            the advent              of     new leagues or rules about free agency? creating

        interesting        natural         experiments that offer opportunities                           for analysis

                In this paper         I   focus on four areas of research                     on sports labor markets First using
        data on the rise and                fall    of    rival   sports   leagues and the granting of free agency                       rights


        in    professional      sports economists                      have tested       whether     employer monopsony                  lowers

        worker     pay Second              sports salary and             performance data and the knowledge of the race

        of   each player in a sport allow us to estimate the extent of discrimination                                             in   a much

        more detailed way than                     is   possible in other industries            Third changes in rules about the

        draft   and player movement                        allow us to examine the claim of the                    Coase theorem that

        with   complete information but no transactions                                costs   or wealth effects        the ownership           of

        a    resource has     no impact on the allocation                            of resources     rather changes             in   such laws

        will   only affect the        distribution              of wealth       Posner       and Parisi 1997 Finally because                    of

        the    observability         of contract           provisions          supervisor      quality    and worker       behavior        one

        can estimate the impacts of supervision                                and    incentives   on behavior
                Of course       it   is    wise to be hesitant before generalizing                        from the results of sports

        research      to   the population                  as a    whole       The four major team sports employ a total




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3




    Case 2:15-cv-01045-RFB-BNW Document 743-9 Filed 09/12/19 Page 3 of 21




            of
1




    Case 2:15-cv-01045-RFB-BNW Document 743-9 Filed 09/12/19 Page 4 of 21




            salaries
            movement

               rose
                       across

                      from
                                the   two competing   leagues   Average   nominal National League
3




    Case 2:15-cv-01045-RFB-BNW Document 743-9 Filed 09/12/19 Page 5 of 21




                 A familiar          pattern    then emerges The huge                     success       of    the    American League

            brought with       it   a dramatic     rise in   player salaries In fact the                 salary     increase appears to

            begin   in     1900     perhaps     reflecting        anticipation of the            new league The            two leagues

            merged during the 1903 season                   at   the       end of which the first            World Series was played

            Then in 1903 salaries in Major League Baseball fell                            immediately by about               15 percent

             In Figure      1 the data from 1903 and beyond                         refer to    American and National League

            teams combined while the               pre1903 data are for the National League only Again this




            attendance
            decline   does not seem            to reflect    any fall in baseball?s             popularity      that   year

                 Major League Baseball prospered                           for   the rest of the     first   decade of the twentieth

            century      with player     costs   under control and attendance                        on the rise However
                    fell    beginning in 1910 and owners kept                        a tight lid on salaries Player discontent

            resulted in the formation            of   a union the Fraternity of Professional Baseball Players of

            America at the end of the 1912 season The owners were under no legal obligation to

            bargain    with a       union and reacted            to   it   with some     hostility


                 This      dissatisfaction     among players helped pave                       the   way for the Federal League

            which     was    able to recruit       to   long term contracts               several      well known       Major League

            ballplayers     beginning in 1913           The pay cycle began again While the Federal League
            was in existence         from 1913 through 1915 many                         players     jumped leagues and major

            league salaries went        fromabout
Case 2:15-cv-01045-RFB-BNW Document 743-9 Filed 09/12/19 Page 6 of 21




                                                                       The      Sports       Business        as     a Labor Market Laboratory                         79




        which         lasted      from 1971                   to    1979 also               had several excellent                         teams       which were

        absorbed          into         the    NHL         starting         in 1979

                 The     rise     and        fall    of these        two    rival      leagues      offer      another             opportunity to          test     how
        monopsony            might           affect     salaries        since        the other      two major               team sports? baseball                   and

        football?         had no such competition                          in their labor markets                        until   the advent          of free   agency

        in baseball         in 1976 and the                   birth of      the United States                Football            League       USFL in 1982
                 Table      1 shows average player salaries                                    for the         major team                 sports for selected

        years from           1967 to 1982 In 1967 there were no rival leagues in baseball football

        or hockey           and the             ABA was just getting started Further there was no free agency
        and players? unions had not                                 yet    negotiated            their first             agreements Thus the 1967

        salaries         can be viewed                 as     representing              common            initial          conditions            with   respect          to
                                                                                                                                                                     3
        negotiating             rules although                     not necessarily              with     respect            to    demand conditions
                 By    1970 and 1972                    the        ABA had been                in existence                for several years and                  NBA




        basketball
        players rapidly            became the highest paid of the major team sports The World Hockey

        Association          started in 1971                  and by 1972 NHL players outearned                                          football     and baseball

        players by similarmargins                             These upward movements                              in the         relative    salaries of


                and hockey players while consistent with effects                                               of   the new competition                    need to

        be judged against the changing                                    popularity of these                  two sports For example                          in    the

        NBA         total    attendance                rose        by 120 percent                between            1966? 67             and 1971? 72 while

        television        revenues            went from              1.5   million to           5.5 million during the same period rises

        that    were much much greater                                than the increases                 for football              or baseball during               this


        time       Quirk and Fort                     1997 The shock of higher salaries may also have spurred the
        teams to market themselves better Moreover                          NBA salaries as a percentage of gross
        basketball        revenues            rose from 30 percent in 1967 to 66 percent                                          in 1972 which          suggests         a

        structural        shift    in salary           determination             that       goes    beyond a rise in revenues                           Staudohar

        1996       p 108 In the NHL attendance growth was actually much faster in the five years
        before the birth of              theWHA 135 percent than while theWHAwas                                                        in business      7percent

            Quirk     and Fort 1997 Thus the acceleration of NHL salaries after 1971 is telling indeed




        experiences
                 There      is    one more important example of the impact of a rival league on player

        salaries         the United             States      Football        League            USFL Like some of the baseball
                   earlier       in the century the                       USFL was born                 out of labor               strife   in   the established

        league in this case it was a seven week NFL strike in 1982 in which the players had

        failed      to    gain     any         significant           ground in              their   fight         for       free    agency        or a share of




        However
        revenues          From 1982 to 1985                         the    USFL posed a challenge                          to    the established         NFL The
        USFL had strong financial                             backing           from such owners as Donald                                Trump many NFL
        players       switched           leagues            and the USFL was able to sign some highprofile college

        players such as                Anthony Carter and Herschel                               Walker             Staudohar 1996                   p 64
                 poor television                    ratings     for the       USFL          ultimately signaled                   its   demise

                 The pattern of football player salaries during the USFL years follows that set by




        3
            The higher NFL salary level may have represented                          the   lingering effects of         the bidding war between the National

        Football    League   and the American Football League                        earlier in the 1960s         The     two leagues agreed         to merge in 1966

        a merger that required congressional                    approval      Ross     1989 This episode            is   not discussed here because        NFL      salary


        level   information       is   not    available     before     1967     However         there   is   strong       anecdotal       evidence    of bidding wars

        between     the two leagues over              college      stars such   as   Joe Namath         Neft   and Cohen 1988               p 94
19




     Case 2:15-cv-01045-RFB-BNW Document 743-9 Filed 09/12/19 Page 7 of 21




             Table     1
             Average          Player Salaries           Major League                Team Sports Selected                       Years



                                Major League                     National    Basketball                 National Hockey                  National    Football


                                     Baseball                        Association                              League                          League



             1967




             the example of other                    rival      leagues Real             salary    increases           for   NFL players averaged
             4 percent per year from 1977? 1982 before the USFL and 5 percent                                                            per year from

             1985? 1989              just    after   the         USFL        In   between           real player              salary   increases        were

             20 percent per year from 1982? 1985                                   Flanagan          1989 Staudohar 1996 Changes
             in    the      popularity           of football        do not seem             sufficient         to explain         the       explosion       of

             salaries         during        the      USFL         years         From 1977            to       1981       NFL      attendance            rose

             23 percent              but attendance                was      actually      2 percent lower                in    1985 than        in 1981

             further         NFL television revenues rose by similar rates before and during the USFL
             years Overall NFL                    salaries       during the USFL period were much higher than could
                                                                                                                                                                4
             have been predicted on the                           basis     of revenues        during that time                  Flanagan           1989
                      If   one uses other sports                 as a control         group for the experience                   of   football salaries


             in the        USFL years the same lesson emerges The salary growth                                          for football players from

             1982 to 1985 was 8? 10 percentage                              points per year higher than baseball and basketball

             and 17 percentage                   points per year higher than                       for    hockey        players       Flanagan         1989

             Staudohar 1996 However during the 1981? 85 period attendance                                                         grew 5 percent            in

             baseball 11 percent                  in the        NBA 11 percent             in the    NHL and as noted fell 2 percent
             in    the     NFL television            revenues         grew 211 percent               in baseball             and 35 percent           in   the

             NBA compared                   to   29 percent         in    the   NFL Quirk and Fort 1997 The faster growth
             of    NFL salaries during the 1982? 85 period                                 despite        worse attendance               and television
             revenue increases again                   suggests           the importance           of    the   USFL


             Free      Agency

                      Until 1976 players               in each of the four                 major sports were bound by the reserve

             clause to remain with their original team unless that team                                                  decided       to   trade or sell

             them to another team They were not allowed to become                                                    free agents who           could sell

             their services to any                 team
                      The path          toward       free agency             started      in baseball           The      Major League               Baseball

             Players Association                  MLBPA was started in 1952 but                          it   didn?t become           amodern union


             4
                 Deceleration        of the growth of      NFL television revenues             from nearly 30 percent            per year     from 1981     to

             1985     to just 2.6 percent         annual growth           from 1985      to 1988   could      also   have    explained   the deceleration

             of salaries     after   1985 However          it   is also   true that attendance in the           NFL picked up from 1985 to 1988
             rising    1.5   percent     in contrast    to the      2 percent     fall   from 1981       to   1985     Quirk and Fort 1997
Case 2:15-cv-01045-RFB-BNW Document 743-9 Filed 09/12/19 Page 8 of 21




                                                                                                                               Lawrence            M Kahn                81




        until      the former United Steelworkers                                    negotiator       Marvin Miller took over in 1966.5




        agreement
        The       MLBPA            achieved           a collective            bargaining           agreement              in    1968 and              in   1970 the

        National          Labor Relations                  Board ordered the                       parties        to     use outside              arbitrators           for

        resolving         grievances             In    a   farsighted            decision          Miller obtained                management?s




        interpretation
                   to   incorporate the standard                          player contract                which included                     the reserve clause

        into the        collective         bargaining                agreement This meant that grievances about the

                           of     this   clause       were a proper subject                    for     arbitration              In December                 1975 an
        arbitrator         ruled         that   the reserve clause                   meant that the team could reserve a player for

        only one year beyond the expiration                                    of    any current contract With the reserve clause in

        place almost               all    teams signed                players        exclusively         to      one year contracts                   and so            this


        ruling      would have freed                   virtually        all    of the veteran players                    after     the       1976 season The

        teams threatened with this possibility were thus moved to negotiate a formal system of

        free      agency with the               union in 1976                 calling for free           agency           with some relatively                    minor

        compensation               to any       team losing a free agent for players with at least                                           six years of         Major

        League Baseball service                        This provision remains basically                                  in   place In 1994 about 33

        percent         of     players     had at least six years? service                          Vrooman 1996                        p 354
                  The     rise     of free agency                in the         1976? 77 period had a powerful impact                                          on       the

        salaries of baseball               players The average                        real increase             in baseball        salaries         was    from 0? 2

        percent         per year from              1973? 75 In 1976 the average real salary increase was almost 10

        percent           in    1977       the     first    year       under the new                collective            bargaining              agreement 38

        percent                 in 1978          22 percent before falling back into                                     single    digits         growth in 1979

            Lehn 1990 Moreover                           baseball        salaries as a         percentage                of   team revenues rose from

        17.6 percent            in 1974 to 20.5            percent in 1977 to 41.1 percent                         in    1982 further suggesting that
                                                                                                                                                                           6
        free      agency       has had         a structural          effect    on baseball         salary determination                      Zimbalist 1992

                  A final       point to note               about baseball               salary      determination                     is   that    in a series           of

        grievance              arbitration          decisions            in     the     1980s the owners                        were found                 guilty         of

        colluding            by   not making offers to free agents                                   Staudohar                 1996           This reassertion

        of       cartel      wage setting behavior                        appeared            to    be      successful            in        restraining           salary

        growth Real annual growth in baseball                                         salaries      fell    from 11 percent in the 1982? 85

        time period               to     3 percent           from 1985? 87                    Flanagan             1989 Staudohar                      1996 BLS
        website Moreover                         salaries       as    a percent          of   revenues            fell    from about 40 percent in




        Staudohar
        1985 to 32 percent in 1989 during the collusion period                                                            Zimbalist           1992 In 1989
        arbitrators            levied      a    280 million back pay penalty on the owners to be paid out over

        the       1989? 91 period                 as   compensation for the                         losses         imposed by collusion

                        1996 and salaries as a percent of revenue                                               bounced         back         to   43 percent by

        1991        Zimbalist             1992 The collusion episode                               provides            a further illustration                     of the

        potential          impact of monopsony on salaries




        5
            This description        of the      Major League           Baseball Players        Association         and baseball labor relations                   is   based




        combination
        on Staudohar              1996     Berry Gould               and Staudohar        1986       and Korr             1991
        6
            In   the 1974      and 1975        seasons     many players were            eligible   for salary      arbitration but            without      free   agency
        arbitration       alone    seemed       to have     little    impact    on average     salaries         However        salary   arbitration in

                 with   free   agency     can have       an effect on players?          average     salaries because            arbitrators        are often      entitled


        to compare players?            demands and team offers to the salary levels                        of   free agents       Using fixed        effects   methods
        on panel data for individual                players      for the      late   1980s I found that           other       things    equal being         eligible     for


        salary    arbitration      increased      players?     salary   by about       30? 45 percent            See   Kahn       1993a
Case 2:15-cv-01045-RFB-BNW Document 743-9 Filed 09/12/19 Page 9 of 21




        82         Journal      of   Economic           Perspectives




                   Basketball        players also won            free    agency     in 1976         but by    a different       route through            the

        settlement         of   the players?            antitrust     suit challenging           the   ABA NBA merger As a result free
        agency        inNBA came on the heels of the ABA NBA salary war period of 1967? 76
                           the

        Possibly as a result average salaries grew more slowly in the NBA in the 1977? 82 period


        than       in football       or baseball             a comparison         which        does not suggest           a major impact           of free


        agency       in the      NBA in addition               to the impact         of competition            from the ABA On the other




        Staudohar
        hand NBA salaries amounted                             to about        70 percent of revenue                 in   1977 and        ?nearly      three

        quarters?         in    1983 suggesting some further increase in basketball                                       players?    relative      power

        after      the    coming of           free     agency     even without            the    benefit     of an      alternative       league

                     1996       p 108 Finally basketball imposed a salary cap in 1983 and salaries did
        indeed decelerate               after     1985 However                 there were many exceptions to the                      salary     cap and

        it   may ultimately have had little                    effect    on salaries during this period Fort and Quirk 1995



        Evidence           on the Degree                 of Monopsonistic                 Exploitation

                   To this point the argument                           has relied on presenting abrupt                          shifts     in salaries

        that are          difficult      to     explain         without         appealing to the               theory of         monopsony               An
        alternative            mode of research on                      salary     determination              is   to     compare estimates               of

        players? marginal                revenue             products to salaries                and in this way to approximate the

        degree        of monopsonistic                       exploitation This research                     methodology             was pioneered

        by Scully              1974 in work on                   baseball        and       has      been     elaborated          in many         papers

        summarized in Scully                            1989 and Zimbalist                      1992 Scully?s               1974 contribution
        also       has inspired          a large number of undergraduate                                   economics         theses

                   Scully?s      1974 approach                   involved        a two step process First one estimates                                 how
        various       measures           of    a player?s performance                      like     runs scored and batted in or ratio

        of    batters      struck       out to batters           walked          affect    a team?s winning percentage Second

        one        estimates         how team revenue                     is    affected        by winning           percentage along                  with

        other factors            like    the size of the local market A player?s marginal revenue                                                product

        is   estimated by multiplying his contribution                                    to    winning by the impact of winning on

        revenue Using                  this    methodology               for players           in   the reserve         clause     days of the          late


        1960s Scully                 1974 estimated that                       average      players received              about 20 percent of

        their marginal               revenue            product       and stars only about 15 percent Scully                               1989 and
        Zimbalist              1992 updated and                       refined       Scully?s           1974        calculations           for    the    late


        1980s Scully                 1989 found                that     star    players     in      1987 were paid 29? 45 percent of

        marginal           revenue       product even though                       this    was the height of the collusion period

        the percentage                was      still    much higher than the 15 percent                            he found for the reserve

        clause        days Zimbalist?s                       1992 approach compares                         the    players       eligible       and     not

        eligible         for free agency                In 1989 for those players with less than three years? service

        and thus not                 eligible          for   salary     arbitration        or free         agency         the   ratio     of salary to

        marginal           revenue       product was just 38 times what it was for those                                        eligible        for salary
                                                                                                                                      7
        arbitration            only     and 18 times that for those                            eligible     for free      agency

                   These measures                of     monopsonistic            exploitation              must be interpreted cautiously



        7
             The   low relative levels        of exploitation       for the free agency         eligible   suggest   that in the    free agent     market
        teams may have           been    affected by the         ? winner?s     curse.?    For   more evidence          on the winner?s     curse      in the

        baseball     market      for free agents             see Cassing and Douglas             1980
Case 2:15-cv-01045-RFB-BNW Document 743-9 Filed 09/12/19 Page 10 of 21




                                                                           The      Sports        Business         as       a Labor Market Laboratory                          83




         since            as noted         by the authors                of   the studies               they     do not control for a player?s                            effects

                                                                                                                                                                  8
         on revenue other than through his own playing statistics?                                                           effects    on winning                    However

         taken          as    a whole            this line        of research produces                         additional evidence                      that making the

         labor market                    more competitive                  leads to higher                salaries          than    would be the case under

         monopsony Nonetheless                                     during          the    1980s         there       still     appeared             to    be widespread

         monopsonistic                     exploitation             in   baseball             and research from this period                                      also   showed

         similar results                  for basketball             Scott         Long        and Somppi 1985




         Racial Discrimination                                     in Professional Sports




         supervisors
                    Gary Becker                   1957 in his seminal work on the economics of discrimination
         identified               three         forms        of    discrimination                  employer coworker                              including

                     and supervisees                                                          coworkers and customer                                     Under



         segregated
                                                        as well as            lateral                                                                                   certain



         nondiscriminator
         conditions

           s
                                        discriminating

                                           and coworker
                                                                   employers will be driven out of business by the

                                                                         discrimination                 will     lead to equally competitive

                          firms with equal                   pay for equal work However                                       customer discrimination                           is


         different              from these two forms                          of   prejudice             because             an employer that pays more

         money to the types of workers whom customers                                                            prefer        is   likely        to    be rewarded            by

         the       market Conversely those workers                                            who        are      not preferred                   by customers                but

         have a personal comparative                                       advantage               in   the affected                job      will       either        need     to

         accept              lower        pay      if    they       remain in the                      customer sector                      or    else     move          to   the




         discrimination
         noncustomer sector                              where        their comparative                          advantage             is    lost This             argument

         suggests that competitive                                forces      are less likely to eliminate                          customer based

                             than that based on employer or coworker                                                 prejudice              With heterogeneous

         consumer preferences we may observe segregation and equal wages                                                                                    if    consumers

         have equal income and access                                     to capital              Thus the persistence                           of wage         differences

         based            on customer discrimination                                will      be an empirical                  question

                    Of course                 the       sports industry                  is   a    customer based                   service            sector         Further

         sports           leagues          as    monopolies may not face the kind of free entry that might serve

         to    discipline discriminating                            employers Until the 1940s black players were banned
         from major league sports in the United States 9 Baseball                                                                   began slowly integrating

         with the hiring of Jackie                                Robinson by the Brooklyn Dodgers                                          in    1947 and football
         and basketball                    soon followed suit By the mid1990s the population of major league

         baseball             players was               about 30 percent                      black        the      NFL was 65                   percent          black       and

                                                                                                                                             1996 But although

         discrimination
         black players were 80 percent                                   of the NBA?s ranks                         Staudohar

         the color barrier has                           been       decisively           broken           it     is still     possible           that     racial


                             could        persist       on the margin



         8
             As    an     extreme         example       of   such    effects not          captured        by     the revenues          of the      player?s       home team
         Hausman and Leonard                        1997 estimate Michael Jordan?s                        value     to other NBA teams during the 1991? 92

         season         to   be     roughly        53 million This             consisted          of   effects    on attendance             at    away    games         television


         ratings          and merchandise               sales
         9
             In the 1880s           several     black players      were allowed into the American Association which                                    vied with the National

         League         until     its   demise    in 1891 But the National                League and later the American League                              enforced       a color

         bar      until   Jackie Robinson?s             1947      rookie season with the Brooklyn                    Dodgers         Burk 1994 Tygiel                 1983
Case 2:15-cv-01045-RFB-BNW Document 743-9 Filed 09/12/19 Page 11 of 21




         84       Journal       of    Economic              Perspectives




                 If    most employers have a taste                               for    discrimination                    then a nondiscriminating

         employer can either win more games or reduce                                                          expenses or both by hiring the

         most productive workers                            at   the lowest       cost possible                  In the context of Major                       League

         Baseball?s integration                           some teams were more active                              in   bringing black                players        onto

         their rosters in the                       late 1940s          and 1950s            Gwartney              and Haworth                  1974 Hanssen
         1998 Those                  teams that were more willing to use black                                              players            did indeed have

                                                                 on the playing field than those that did not


         discrimination
         significantly          more success




         discrimination
                 The labor market manifestations of discrimination                                                       can include             salary


                         unequal pay for equal work hiring discrimination retention

                  and positional segregation A considerable volume of research has attempted

         to    determine             the          extent      of these      outcomes                    Kahn         1991 offers a survey                       of       this




         market
         evidence        through                  the 1980s

                 Among the forms of discrimination                                       in    sports           salary    discrimination                is    the    most

         studied       issue     The              typical   research      design? similar to much work in this area in labor

         economics? is a regression                               in    which     log    salary is             the    dependent            variable            and the

         independent             variables            include performance                     indicators              team characteristics                   and




         discrimination
                characteristics                   with a dummy           variable       for white              race If the coefficient                on the white
         indicator is          positive            and significant then this potentially offers evidence of

                 Alternatively              some researchers              have used separate                    regressions for white                 and nonwhite

         players       testing       the      possibility        that   performance                is   rewarded        differently        by race

                 A major difficulty                    for all labor       market research on discrimination                                     is   the     problem

         of    unobserved             or mismeasured                     variables           such         as    the     quality      of    schooling            among
         workers        in general                 However such problems must surely be                                      less    severe       in sports           than

         elsewhere         For       example the Baseball Encyclopedia                                   and other baseball data sources allow

         one to control for very detailed performance                                                   indicators       like   batting          average         stolen

         bases        home runs career length team success and many more                                                                       ?Occupation?               in

         baseball is one?s position                         a far more detailed indicator than say ? machine                                              operative.?


         The     accuracy            of      the      compensation              data     in sports               in     many      cases        supplied by               the

         relevant       players? union                    that keeps copies             of    the actual player contracts                          is   very     high




         statistically
                 The sport where regression                              analyses       have produced                    the    most evidence of                     salary


         discrimination              is    professional            basketball       In the mid 1980s                      several         studies       found
                      significant          black       salary shortfalls of             11? 25 percent                  after   controlling             for    a variety

         of    performance and marketrelated                                    statistics          for        example Kahn and Sherer 1988

         Koch and Vander                           Hill     1988 Wallace                1988 Brown                    Spiro and Keenan                         1991 10
         However          by the mid 1990s there were no longer any overall                                                      significant            racial       salary


         differentials         in the             NBA holding performance                               constant         Hamilton 1997 Dey 1997

         Bodvarsson            and Brastow                  1998 One caveat                  to this finding is seen in Hamilton?s                                  1997
         results       from quantile regressions                          which         estimate            the extent of discrimination                            at   dif




         10
              While    there    may       still     be omitted     variables     that    could          have    explained      the   ceteris    paribus      white    salary

         advantage reverse            regression tests which              can   under some restricted                 circumstances take account of such

         problems        Goldberger                 1984 showed even larger apparent discrimination coefficients against                                              black

         players       Kahn     and Sherer             1988 In fact these larger effects suggest that black players had                                              better

         unmeasured        productivity              characteristics     than    whites       at    least   under     the   statistical    assumptions outlined

         by Goldberger           1984
5




    Case 2:15-cv-01045-RFB-BNW Document 743-9 Filed 09/12/19 Page 12 of 21




             ferent points      of   the   salary   distribution   conditional   on productivity        He did not      find

             evidence of discrimination             at the   10th 25th and 50th   salary percentiles       but there was

             a significant     white    salary   premium of about 20 percent other things equal at the 75th
                                                                           11
             percentile   of   the     salary distribution     and above

                    Customer preferences              may have something         to   do   with   the    racial   pay   gap

             observed     in   basketball     in the    1980s For example Kahn and Sherer                  1988 found
             that   all else   equal during the 1980? 86 period each white                  player generated
500




      Case 2:15-cv-01045-RFB-BNW Document 743-9 Filed 09/12/19 Page 13 of 21




                       Although        little    evidence          exists     of a discriminatory              salary    premium in baseball

               or football there is evidence                       of other         forms     of   discrimination         in sports      some          of it

               among customers and also                            in   hiring        retention        and     assignment        of    players             For

               example a larger number                        of    white players            seems      to    lead to    added        baseball         fans

               over the        time period from the                    mid1950s through the 1980s                       Hanssen 1998 Irani

               1996 Moreover                baseball         cards for white            players sold at a significantly                higher price

               than those         of   comparable black players in 1989                               Nardinelli        and Simon 1990

                       On hiring there                is   indirect evidence               that black        players   went later in the NFL

               draft    than whites         of    equal playing               ability      during the 1986? 91            period        Conlin and

               Emerson 1998 However                               in basketball            a study found only small insignificant

               racial   differences         in   draft      order among NBA players on rosters in 1985 conditional

               on college         performance? and these                           differences favored            black      players     Kahn and
               Sherer      1988 All studies                  of    drafts     suffer somewhat                from the     fact   that there           is    no
               systematic        information available                   on those not drafted and not on rosters
                       On player retention Jiobu                         1988 found               that from 1971 to          1985 black players
               in    Major League           Baseball          had a        significantly           higher     exit    rate   than whites          other

               things equal and Hoang                       and Rascher              1999 obtained a similar result for the NBA
               for   1980? 91 A reasonable                    interpretation               of these     differences in exit rates                is    that

               they     reflect    team decisions                  not     to      offer    players     a new         contract        Whether          this


               disparity held          up in the 1990s or whether the                             effects    are similar for      benchwarmers

               and more regular players are interesting                                    questions        for future    researchers

                       On positional segregation Christiano 1988                                    found that black baseball players in

               1987 were                                                                      and underrepresented                                     and


               overrepresented
                                  overrepresented                 in    the     outfield                                          at    infield


               catcher     Kahn         1992 found that in the NFL in 1989                                    black    players   were

                          at    running         back       wide    receiver        and defensive back                and underrepresented                     at




               performance
               quarterback kicker                punter       and       offensive          line    Whether      this   segregation       represents

               current discrimination                  past discrimination                 by high school or college coaches

                          differentials          or    self selection         is   an open question and there                    is   a lively    if       still



               inconclusive       debate        about these        issues       Kahn 1991 Whatever the cause of segregation                                    it



               can have        long term consequences In baseball                           for example        managers are drawn from the

               middle infield positions which                      have    been disproportionately               white       Scully 1989




               The Coase Theorem and Sports


                       In the    frictionless         competitive          world of the Coase                theorem we expect changes in

               the   draft     or in free agency             to have       no effect on player allocation                    Rottenberg          1956
               To understand            why compare                    player      allocation       under the reserve clause               with that

               under     free     agency         Suppose           there      is   a player whose marginal revenue                       product              is
500




      Case 2:15-cv-01045-RFB-BNW Document 743-9 Filed 09/12/19 Page 14 of 21




               expect the two teams to contract       with each other to move      the player to New    York any

               offer   of cash or players in trade   by   New   York to Kansas City that has value   greater   than
Case 2:15-cv-01045-RFB-BNW Document 743-9 Filed 09/12/19 Page 15 of 21




         88      Journal      of    Economic          Perspectives




                 Research          on the Coase theorem in sports seeks to determine whether changes

         in   rules      have had real resource allocation effects                                   If    such       effects    are found            then      it



         is   plausible       to    argue that certain assumptions                            of    the        Coase theorem do not hold

         Two     types       of    evidence        are      typically       sought         in   these           studies         the    impact of rules

         changes on competitive balance or the                                      effect    of rules           changes on the mobility of




         exceptions?
         individual         players

                 Research on the impact of the draft                            or free agency has? with two notable

                    generally         concluded             that these rules            do not             affect     competitive          balance            For

         example the National Football League in 1936                                        instituted          a player draft as the               result of


         a    bidding      war over a college               star at      the   end of the 1934 season with the worst teams

         drafting first           Fort    and Quirk           1995 in fact find that the draft had no                                     effect       on the

         standard deviation                of   winning percentage                  in the      NFL during this period
                 A similar analysis              of   competitive           balance in Major                    League          Baseball        before and

         after    the      introduction               of   free     agency          indicates             no    significant           changes          in     the

         standard deviation                 of   winning percentages in the 1966? 75 vs 1976? 85 periods

          Fort    and Quirk               1995 In basketball the gap between                                       the     winning percentage                   of

         the    top      team       and the bottom                team         in    the     National            Basketball            Association            was

         virtually       identical         during the reserve                  clause pre ABA                   days       of    1961? 67 the                 ABA
         period       of    1967? 76 and the                 free     agency period of 1976? 83                                 Noll 1991 These

         findings        do not suggest any impact of free agency                                    or the rival ABA on competitive

         balance These findings are consistent                                 with the Coase theorem in that rules changes




         managers
         are    not      associated         with      changes        in    competitive             balance             Of course           if    teams are

         unable to judge talent                         then changing                 the     rules         will      not       have    any      effect        on
         competitive          balance But the systematically                           better         performance of particular

                  suggests that             some teams can                 in fact     do this             Kahn 1993b
                 There are two notable exceptions to these findings that changes                                                          in     rules        have

         had    little     effect    on competitive balance both                             relating           to baseball           Both exceptions

         may be susceptible                 to alternative            explanations                 still       they    are      worth noting First

         after   the introduction                of the baseball               draft in 1965               the competitive balance                     in     the

         American League appears                           to have increased               markedly Fort and Quirk                              1995 find
         in   a study of baseball                from 1952            to    1975 that the standard deviation                                    of   winning

         percentage          was     significantly           lower in the           American League                        in   nonexpansion years

         after   the draft          than before the draft The                         concentration                   of    championships              fell     in

         both the          National         and American                  Leagues          after          the    introduction            of      the     draft

         suggesting         that     it   in fact      did   affect      competition But it                      is   also true that            from 1952

         through 1964 the 13 seasons before the draft the Yankees won 11 pennants? and

         then did not               win any pennants until 1976 Thus                                        the       change      in the         American

         League may reflect the downfall                            of   the    Yankees more than the draft indeed                                       it   has

         been argued that the Yankees?                         apparent             reluctance             to employ black               players       in     the

         1960s contributed                 to their decline               Hanssen 1998 In the National League there

         was hardly          any change in the standard deviation of winning                                                percentage

                 A second           piece of       evidence         that rules         changes may have real effects suggests

         that free agency                 in baseball         has    lowered the year to year                              correlation          of   winning

         percentage           by breaking up winning teams                                   Vrooman                  1996 For example                        last


         year?s   winning           percentage             had an effect            on this year?s winning                       percentage           of      715
Case 2:15-cv-01045-RFB-BNW Document 743-9 Filed 09/12/19 Page 16 of 21




                                                                                                                        Lawrence         M Kahn            89




         significant
         from 1970? 76 before free agency                                   the coefficient was then 711 from 1978? 80 439

         from 1983? 85 260 from 1986? 89 and 036 from 1990? 93 with                                                                all    effects


                     except         the    last      one This              evidence      is   intriguing        but uncertain                While the

         year to year correlation of winning percentage                                         has fallen there              is   no sharp decline
         around 1976 and then when                                     the decline        does occur           it    continues           into the        early

         1990s The timing suggests that the introduction                                               of free       agency        in    1976 may not

         have been the only factor at work here Other causes might have included changes

         in    the         revenue    position                of    teams which would by themselves                            affect       competitive

         balance            under the reserve clause or free agency

                   A more direct               test      of    the Coase theorem than looking                           at   competitive           balance

         is   to    examine player mobility under different                                      rules    for        player allocation              Hylan
         Lage         and Treglia               1996 examined                      the    mobility       of    all     major league                baseball

         pitchers            over    the       1961? 1992              period       so that the          beginning            of    free     agency         in

         1976? 77 is at the midpoint of this interval Before 1976                                             total     player service            time was

         significantly            positively          associated           with mobility         other things            equal after 1976                 this




         suggested
         was       still    true but the             effect         of longer service           on mobility was much smaller than

         before free             agency        This           outcome could have occurred                       if    free agency           has    led to    a

         greater incidence                     of    long term contracts                  for   more experienced                    players         as

                           by Lehn        1990 and Kahn                     1993a Wealth            effects          due to free agency              could

         have raised the willingness of players                                   to   pay for amenities by staying put

                   The mobility evidence                           appears       to contradict         the stereotype              that while in the

         old days               before free          agency players stayed                      with    one team but now players                          are

         mercenaries and will                       move       at the      drop of       50 million However we often forget that

         there were              many trades before free agency and once a player moves nowadays                                                            to

         a    team offering him a long term contract? the mercenary stereotype? that player

         then typically becomes                          relatively        immobile




         Incentives                 Supervision                     and Performance


                   Some of the most intriguing evidence on the links from incentives to performance
         comes from sports                     that      have        not   been     much discussed             to     this    point       like    golf   and

         marathon running Ehrenberg                                    and Bognanno              1990a        b used data from the 1984
         US based Professional Golf Association                                          PGA and 1987 European PGA tours to
         estimate the impact                   of    incentives            on player performance               Because         the prize structure

         of   a given tournament                         is   known        in    advance      one can         compute          the dollar gain to

         improving one?s              finishing               position      in   a tournament Ehrenberg and Bognanno                                 found

         that      a greater        dollar gain to             a better finish had a statistically                   significant         favorable    effect


         on a player?s performance                                 controlling for the        player?s    ability        his opponents?              ability


         and the difficulty               of   the       course In addition               golfers      appear        to perform better when                 it



         matters           more particularly in the later rounds                              of a tournament                Finally golfers? labor

         supply            as   measured            by   their       propensity        to enter     a given tournament                      is    positively


         affected by the expected gain to participating                                   implying an upward sloping labor supply
Case 2:15-cv-01045-RFB-BNW Document 743-9 Filed 09/12/19 Page 17 of 21




         90       Journal         of   Economic               Perspectives




         performance
         schedule
                          14
                               However              amore recent replication study using 1992 PGA data found that
         monetary incentives                       had small and statistically                            insignificant                effects   on      player

                       and      that         results          were     sensitive          with       respect        to       who        rated     the weather                that

         prevailed        during             a    tournament             Orszag 1994

                  The framework devised by Ehrenberg and Bognanno                                                                      1990a     b has been used
         to   examine the incentive                            impact of prize                  money in two additional                          sports          marathon

         running and auto racing In auto racing Becker                                                             and Huselid                   1992 found                  that

         larger monetary rewards                              to better finishes lowered                        individual racers? finishing times

         and raised the incidence of accidents presumably due to a greater effort to go fast

         In marathon               races Frick                   1998 found                    that better prize money                           and performance

         bonuses for setting records lowered racing times

                  In the       major team sports that have                                     been the primary focus of this paper free

         agency        has     brought with it                   an increased                  incidence          of     long term contracts                       a finding

         Lehn          1990 argued                     was consistent                 with         wealth     effects             as    players       in   essence            buy

         long term income insurance                                   He noted that as the incidence                                     of    longterm contracts

         went from virtually                      zero during the days of the reserve clause to 42 percent                                                      of baseball

         players with          at least           two years pay guaranteed                            as of   1980            the share          of   baseball         players

         who spent time on the disabled                                 list    rose from an average                         of   14.8 percent             from 1974 to

         1976       before        free       agency up to 20.8 percent from 1977 to 1980                                                   the    early     years of free

         agency Lehn                   surmised that                  this   increase was              a moral hazard response by players on

         guaranteed            longterm                  contract        In      this         instance        moral hazard                     refers      to    a    player?s


         impact        on the decision                   to     go or stay on injured reserve

                  To perform a sharper test of this hypothesis he compared                                                              players in 1980 who had

         long term contracts                      of    three years or more with those                              who had short term contracts                                of

         two years or less Prior to signing                                  these contracts                 those with             long term contracts                      were

         almost      two       years         younger           and had          2.2      days       per    season            less disability          than those who

         signed short term contracts                             Thus          those with            long term contracts do not appear to be

         an especially injury prone group Nonetheless                                                     after     signing            their     agreements those

         with     longterm contracts averaged                                  12.6     disabled days per season                          compared              to    only 5.2

         days     for those            with       0? 2 years Lehn                     1990 confirms in a regression                                   setting        that     this


         effect     is   highly         statistically            significant            The finding               is    strongly suggestive of                        a moral
         hazard effect although one                               cannot         completely               rule out that players                       who had private
         information            that         they       were      fragile       were more                 likely        to    sign      longterm contracts in

         which case the results could also reflect adverse                                                 selection

                  Of course one way for a team to reduce the moral hazard response                                                                          is   to reward




         14
              Labor supply effects also appear in men?s professional                                tennis    The Association            of Tennis Professionals               the

         governing       body of the men?s pro tour decided                          several       years ago to consider just a player?s results in the most

         recent   14     events    in which            they    have    competed          in   computing       his ranking              which   affects     his seeding         and
         therefore success probability                  in future      tournaments            For example          in   1999 one player was ranked                   first   in the

         world for part of the               year      despite    a   string    of    first    round      tournament          losses These        did not        count       in his

         ranking     point     total     and       observers      surmised that               he   would     have entered              fewer tournaments              and thus

         conserved       his energy          if   the costs of losing were higher Because of these                               poor incentives the Association                 of

         Tennis Professionals                the ruling         body of men?s           tennis has         instituted        a    new system      which     will     count    in a

         player?s   ranking a core set of tournaments                        whether          the player plays in the tournament or not                     and then some

         other tournaments              as   well See the ATP?s              website      at       http www atptourcom
Case 2:15-cv-01045-RFB-BNW Document 743-9 Filed 09/12/19 Page 18 of 21




                                                                        The    Sports    Business    as    a Labor Market Laboratory                        91




         players           for    not    being       injured           Lehn       1990      notes       that   38 out       of    155 players             with

         contracts           of    three      or more years or about 25 percent had incentive                                         clauses    in      their

         contracts            These clauses               sometimes           rewarded either being available                  to     play for most of

         the season              or postseason awards won                       such awards typically require being active                           for    all



         or most of the              year Before signing such long term contracts                                  those who           ended up with

         incentive           bonuses          had     virtually        identical    average       propensities         to   be      injured     as     those

         without            such incentive            bonuses           However          after   signing       the    injured time of players

         without            incentive         bonuses           was 2.4 times that of those                with    bonuses            Again     a   strong

         moral hazard response                       is   suggested           although as before we cannot rule out the adverse

         selection           possibility       that players who suspected                    that    they were        likely     to be       fragile     have

         turned down the opportunity                               to sign      a contract       with    an incentive       bonus




         individual
                  Hiring better quality                        management is an alternative route along with contract

         incentives               for    eliciting            desired    performance             levels    In a study            of    the    impact         of

         baseball            managers I estimated the effect of better managers                                         on team and

                player           performance                   Kahn 1993b               Managerial quality            was measured               by       first


         running             a 1987 regression with                          manager                              dependent                               and




         regression
                                                                                           salary     as   the                          variable

         managerial               experience career winning percentage and                                     a National             League dummy

         variable           as the       explanatory variables                   Then using the coefficients from the
                      I   plugged        in   each manager?s actual experience and winning percentage                                                to get

         a    predicted            salary     level       I    then calculated          that during the 1969?               86      period hiring a

         better quality              manager              significantly         raised the       team?s winning             percentage           relative


         to    its        past    level? even             if    one also controls for team scoring and runs allowed

         suggesting               that   good managers                  win the close games The                   effect    of        good    managers

         was     even larger when                     I       didn?t control        for    offense        and defense The                latter      effect

         could indicate that better                            managers         are superior        judges of talent             or motivate their

         players            and thus indirectly                  contribute        to offense        and defense

                  I       also studied         individual player performance                        relative     to established          career        levels


         when the team was taken over by a new manager The better the quality of the new

         manager the better a player?s future performance                                           relative     to his past        performance In

         related calculations                   I   found an increase in managerial quality more than pays                                      for itself


         based on Scully?s                    1989        results      for    the effect    of   winning       on revenue Because                   of    this

         one might have expected the salaries of highly talented managers to be bid up The fact

         that    they weren?t             as measured              in   the 1987        salary data     used   in this study          may be further

         indirect           evidence of collusion                  between baseball owners during this time period




         Final Thoughts



                  Labor issues in sports may seem distant from the                                             rest   of the          economy            since

         they         often       seem to pit millionaire players                          against      billionaire      owners But while                     it



         would be unwise                      to extrapolate             too    strongly from the labor                market experience of

         sports evidence                  on a particular               labor    market should not be discounted                         just because


         the market has                  a high      profile either              The strong evidence              for monopsony in sports

         has     some            parallels      to a similar effect               that has       been      found among groups such                           as

         public            school       teachers              nurses    and university professors                     Ehrenberg and Smith
League




         Case 2:15-cv-01045-RFB-BNW Document 743-9 Filed 09/12/19 Page 19 of 21




                  2000 The evidence                   from these areas suggests that the phenomenon                                      of   employer

                  monopsony power                   could be more widespread                        than          commonly       acknowledged            by




                  athletes
                                                                                                             is



                  economists The presence                          of    customer discrimination                    in sports        reminds us that

                  there are           many sectors         in      the        economy with            producer customer                contact      where

                  discrimination              could persist The                results       on player performance suggest that

                            are motivated by similar forces                           that   affect      workers    in general

                            While      this   paper has concentrated                      on sports in North America many                           of the

                  same economic                issues    arise      in the sports industry                   elsewhere Professional soccer

                  leagues in           Europe are tremendously                         lucrative         and also must be concerned with

                  player      movement and competitive balance                                     For example         television       contracts       for

                  soccer in the United                Kingdom France                     Italy     Spain and Germany had a combined

                  annual value of roughly                  1 billion in 1997 this compares favorably to the 1996                                      total


                  media revenues               of    roughly             1.3   billion       for the       most lucrative league               in   North

                  America the NFL In fact European soccer draws more TV revenue                                                        than the NBA

                  Major League             Baseball      or the          NHL          Hoehn and Szymanski                   1999      Financial     World

                  June 17        1997 The promotion                           and demotion               of individual       teams to and from a

                  new European superleague                         involving          teams from several countries                   raise   fascinating

                  questions about the role                    of    competitive           balance          Hoehn and Szymanski 1999
                            Recent      developments in North American sports will provide some additional

                  opportunities           to observe       economic theories at work For example the NBA and the




                  between
                  NFL have adopted explicit revenue                               sharing rules between                labor    and management




                  success
                  so that      salaries       are    supposed            to   comprise a certain share                 of    total    revenue        Major

                  League        Baseball       has   adopted revenue sharing and a ? luxury tax? on payrolls over a

                  particular          amount While              explicit        revenue        sharing can          promote          cooperation

                              labor     and management by automatically joining each                                         side?s    economic

                            together the 1998 basketball                       lockout suggests that agreeing on an appropriate

                  sharing rule can             be difficult



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         Case 2:15-cv-01045-RFB-BNW Document 743-9 Filed 09/12/19 Page 20 of 21




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           Case 2:15-cv-01045-RFB-BNW Document 743-9 Filed 09/12/19 Page 21 of 21




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